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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   JOHN CRAIG,

          Plaintiff,

   v.                                                      CASE NO. 8:16-cv-2448-T-23JSS

   NAVIENT SOLUTIONS, INC.,

         Defendant.
   ____________________________________/


                                             ORDER

          Stipulating that “this action is subject to arbitration,” the parties move

   (Doc. 19) to stay this action pending arbitration The motion (Doc. 19) is

   GRANTED. In accord with 9 U.S.C. § 3, this action is STAYED. The clerk is

   directed to administratively close the case. Within a week after the parties receive the

   arbitral decision, the plaintiff must move to re-open the case and to lift the stay. If

   the parties have not received the arbitral decision by MAY 1, 2017, on that day the

   plaintiff must file a report detailing the status of the arbitration.

          ORDERED in Tampa, Florida, on December 21, 2016.
